Case 11-33448   Doc 41-1   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  A Page 1 of 2




                Exhibit A
                                                                               Case
                                                                     B6F (Official  Case
                                                                                   Form 11-33448
                                                                                        6F) 11-33448
                                                                                            (12/07) - Cont. Doc
                                                                                                              Doc
                                                                                                                41-1
                                                                                                                  1             Filed
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                                                                                                                                       05/31/19 Entered
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                                                                                                                                                 2 of21
                                                                                                                                                     2 of 52
                                                                     IN RE Sorensen, Steven Lee & Sorensen, Tina L                                                                                       Case No.
                                                                                                                              Debtor(s)                                                                                                        (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                              DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                             DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                        CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                               SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 3509XXXXX                                           X J 2011                                                                                                                 X
                                                                     Escallate LLC                                                       Legal Services
                                                                     5200 Stoneham Rd.
                                                                     North Canton, OH 44720

                                                                                                                                                                                                                                                                            516.00
                                                                     ACCOUNT NO. 6044071026146023                                    X J 2008                                                                                                                 X
                                                                     GB/PAYPAL Smart Conn                                                Goods and Services from Paypal Buyer Credit
                                                                     P.O. Box 981064                                                     P.O. Box 960080
                                                                     El Paso,, TX 79998                                                  Orlando, FL 32896-0080
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                                                                                                                                                                                                                                                                            612.00
                                                                     ACCOUNT NO. 798192414904XXXX                                    X J 2007                                                                                                                 X
                                                                     GEMB/GE Money Bank Low                                              Goods and Services
                                                                     PO Box 103065
                                                                     Roswell, GA 30076

                                                                                                                                                                                                                                                                          3,000.00
                                                                     ACCOUNT NO. XXX-XX-XXXX                                         X J 12/31/2007                                                                                                           X
                                                                     Internal Revenue Service                                            Personal 1040 Income taxes for 2007
                                                                     P.O. Box 9019
                                                                     Holtsville, NY 11742

                                                                                                                                                                                                                                                                         47,213.00
                                                                     ACCOUNT NO.                                                     X J 2009-2010                                                                                             X
                                                                     Keith Schallenkamp                                                  Personal Loan
                                                                     2-361st TSBn
                                                                     P.O. 616
                                                                     El Paso, TX 79906
                                                                                                                                                                                                                                                                          6,000.00
                                                                     ACCOUNT NO. 93833653                                            X J 2011                                                                                                                 X
                                                                     LCA Collections                                                     Medical Services from Hedges Clinic for child
                                                                     P.O. Box 2240                                                       Olivia Sorensen
                                                                     Burlington, NC 27216-2240

                                                                                                                                                                                                                                                                             72.00
                                                                     ACCOUNT NO.                                                     X J 2011
                                                                     Marquette Vision Center                                             Goods and Services
                                                                     9612 Willow Lane
                                                                     Mokena, IL 60448

                                                                                                                                                                                                                                                                            570.00
                                                                     Sheet no.       3 of        5 continuation sheets attached to                                                                                                Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                       (Total of this page) $                             57,983.00
                                                                                                                                                                                                                                     Total
                                                                                                                                                                        (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                            the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                         Summary of Certain Liabilities and Related Data.) $
